Case 3:09-cv-00988-L Document 82 Filed 01/29/10 Page 1 of 2 PageID 1932
                      UNITED STATES DISTRICT COURT 

                       NORTHERN DISTRICT OF TEXAS 

                             DALLAS DIVISION 



 NETSPHERE, INC., et aI., 	                        §
                                                   §
                                  Plaintiffs,      §
                                                   §
 vs. 	                                             §    CIVIL ACTION NO.
                                                   §    3-09CV0988-F
 JEFFREY BARON, et aI., 	                          §
                                                   §
                                  Defendants.      §


         ORDER AUTHORIZING TRANSFER AND DELETION OF DOMAIN NAMES

After consideration of the motion of the Bankruptcy Trustee for Ondova Limited Company
(Ondova) and arguments of counsel for Plaintiffs Netsphere, Manila Industries, Inc., and
Munish Krishan (Manila), Defendant Jeffrey Baron (Baron), and Intervenors Charla G. Aldous,
the Aldous Law Firm Jeffrey Rasansky, and the Rasansky Law Firm (Rasansky/Aldous
Intervenors) at hearings on December 10, 2009 and January 29, 2010, and Bankruptcy Court's
January 20, 2010 Order Regarding Joint Motion for Relief from the Automatic Stay to File
Motion in District Court Litigation, the Court hereby issues this Order authorizing the transfer
and deletion of domain names as follows:

 1. 	     Notwithstanding any provision of this Order, Manila and Ondova may transfer any
          domain name within their Domain Name Portfolios to any third party without any
          approval from the other Party except:

              a. 	 That Manila and Ondova shaIl maintain financial and detail records associated
                   with domain transfers during the pendency of this case.

             b. 	 All proceeds from the transfer by Ondova shall be placed in escrow held by the
                  Bankruptcy Trustee pending further orders from the Bankruptcy Court.

2. 	      To the extent any sale or other disposition of domain names by Ondova is not in the
          ordinary course of business or otherwise implicates Section 363 of the Bankruptcy Code,
          this order constitutes authority under 11 U.S.C. § 363(c)(2) for such sale.

3. 	      Manila and Ondova have the right to change the WHOIS information contained within
          their Domain Name Portfolios which is subject to their respective control without
          obtaining the approval of any of the other Parties, except that Ondova may not change the
          privacy service identified as the registrant for the Ondova Portfolio from Texas
          International Property Associates to a new third party privacy service affiliated with any

ORDER AUTHORIZING TRANSFER AND DELETION OF DOMAIN NAMES - PAGE 1
 Case 3:09-cv-00988-L Document 82 Filed 01/29/10 Page 2 of 2 PageID 1933
       of the parties in this case or the Ondova bankruptcy case. The WHOIS information
       referenced herein includes but is not limited to the Registrant's name, address, e-mail
       address, and telephone number.

3. 	   The Court has made no determination about claims of ownership of any domain names by
         parties not before this court at this time.



                      11
 ORDERED on January ~2010.




                                                          . ROYAL FURGESON, JR. 

                                                          E




ORDER AUTHORIZING TRANSFER AND DELETION OF DOMAIN NAMES . PAGE 2
